                               EXHIBIT 4
                       Certificate of Service




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                       UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN

                                SOUTHERN DIVISION



In re                                           Chapter 9


                                                Case No. 13-53846
CITY OF DETROIT, MICHIGAN,

                                                Hon. Steven W. Rhodes
                              Debtor.




                           CERTIFICATE OF SERVICE

               I hereby certify that on March 3, 2014, I electronically filed the

Motion of Debtor for Entry of an Order, Pursuant to Section 105(a) of the

Bankruptcy Code and Bankruptcy Rule 9019, Approving a Settlement and Plan

Support Agreement and Granting Related Relief, which sends notice by operation

of the Court’s electronic filing service to all ECF participants registered to receive

notice in this case.



Dated: March 3, 2014                            /s/ Robert S. Hertzberg
                                                Robert S. Hertzberg (P30261)




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